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     EXHIBIT “E” – Parties’ Joint Proposed Jury
                                Instructions
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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BRANDON STOLLINGS,           )
                             )                                Case No: 08-cv-4006
     Plaintiff,              )
                             )
v.                           )                                Judge Gary Feinerman
                             )
RYOBI TECHNOLOGIES, INC.,    )
ONE WORLD TECHNOLOGIES, INC. )
                             )
     Defendants.             )

                      PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS


       The Parties submit this Joint Proposed Jury Instructions. This document is divided into

three (3) sections:


       1. Instructions that the parties are in agreement should be included in the final

           instructions to the jury (twenty-nine (29) agreed proposed instructions);


       2. Instructions that the parties generally agree should be included in the final

           instructions but have disagreement about the exact language to be utilized – including

           plaintiff’s proposed language and Defendants’ proposed language (five (5) such

           proposed instructions); and


       3. Instructions that defendants request be included in the final instructions but to which

           plaintiff wholly objects (two (2) such proposed instructions).


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           AGREED PROPOSED JURY
               INSTRUCTIONS




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                              FUNCTIONS OF THE COURT AND JURY

       Members of the jury, you have seen and heard all the evidence and arguments of the
attorneys. Now I will instruct you on the law.

        You have two duties as a jury. Your first duty is to decide the facts from the evidence in
the case. This is your job, and yours alone.

        Your second duty is to apply the law that I give you to the facts. You must follow these
instructions, even if you disagree with them. Each of the instructions is important, and you must
follow all of them.

       Perform these duties fairly and impartially. Do not allow sympathy or prejudice to
influence you.

       Nothing I say now, and nothing I said or did during the trial, is meant to indicate any
opinion on my part about what the facts are or about what your verdict should be.




Agreed Instruction No. 1

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.01




             Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 4
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                                NO INFERENCE FROM JUDGE’S QUESTION

       During this trial, I have asked a witness a question myself. Do not assume that because I
asked questions I hold any opinion on the matters I asked about, or on what the outcome of the
case should be.




Agreed Instruction No. 2

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.02




             Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 5
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                           ALL LITIGANTS EQUAL BEFORE THE LAW


      In this case, the defendants are companies. All parties are equal before the law. A
company is entitled to the same fair consideration that you would give an individual person.

      For purposes of your deliberations and verdict, Defendant Ryobi Technologies, Inc. and
Defendant One World Technologies, Inc. should be considered together as a single defendant.




Agreed Instruction No. 3

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.03




             Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 6
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                                        DEPOSITION TESTIMONY

         During the trial, certain testimony was presented to you by video deposition. You should
give this testimony the same consideration you would give it had the witnesses appeared and
testified here in court.




Agreed Instruction No. 4

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.05




             Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 7
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                                        WHAT IS NOT EVIDENCE

         Certain things are not to be considered as evidence. I will list them for you:

        First, if I told you to disregard any testimony or exhibits or struck any testimony or
exhibits from the record, such testimony or exhibits are not evidence and must not be considered.

       Second, anything that you may have seen or heard outside the courtroom is not evidence
and must be entirely disregarded. This includes any press, radio, Internet or television reports
you may have seen or heard. Such reports are not evidence and your verdict must not be
influenced in any way by such publicity.

       Third, questions and objections or comments by the lawyers are not evidence. Lawyers
have a duty to object when they believe a question is improper. You should not be influenced by
any objection, and you should not infer from my rulings that I have any view as to how you
should decide the case.

        Fourth, the lawyers’ opening statements and closing arguments to you are not evidence.
Their purpose is to discuss the issues and the evidence. If the evidence as you remember it
differs from what the lawyers said, your memory is what counts.




Agreed Instruction No. 5

____ Given

____ Given as Modified

____ Refused

____ Withdrawn
Seventh Circuit Pattern Jury Instruction 1.06




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                                                NOTE TAKING

        Any notes you have taken during this trial are only aids to your memory. The notes are
not evidence. If you have not taken notes, you should rely on you independent recollection of
the evidence and not be unduly influenced by the notes of other jurors. Notes are not entitled to
any greater weight than the recollections or impressions of each juror about the testimony.




Agreed Instruction No. 6

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.07




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     CONSIDERATION OF ALL EVIDENCE REGARDLESS OF WHO PRODUCED


       In determining whether any fact has been proven, you should consider all of the evidence
bearing on the question regardless of who introduced it.




Agreed Instruction No. 7

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.08




           Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 10
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                                      WEIGHING THE EVIDENCE

        You should use common sense in weighing the evidence and consider the evidence in
light of your own observations in life.

      In our lives, we often look at one fact and conclude from it that another fact exists. In
law we call this “inference.” A jury is allowed to make reasonable inferences. Any inference
you make must be reasonable and must be based on the evidence in the case.




Agreed Instruction No. 8

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.11




           Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 11
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              DEFINITION OF DIRECT AND CIRCUMSTANTIAL EVIDENCE

        You may have heard the phrases “direct evidence” and “circumstantial evidence.” Direct
evidence is proof that does not require an inference, such as the testimony of someone who
claims to have personal knowledge of a fact. Circumstantial evidence is proof of a fact, or a
series of facts, that tend to show that some other fact is true.

       As an example, direct evidence that it is raining is testimony from the witness who says,
“I was outside a minute ago and I saw it raining.” Circumstantial evidence that it is raining is the
observation of someone entering a room carrying a wet umbrella.

       The law makes no distinction between the weight to be given to either direct or
circumstantial evidence. You should decide how much weight to give any evidence. In reaching
your verdict, you should consider all the evidence in the case, including the circumstantial
evidence.




Agreed Instruction No. 9

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.12




           Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 12
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               TESTIMONY OF WITNESSES (DECIDING WHAT TO BELIEVE)

        You must decide whether the testimony of each of the witnesses is truthful and accurate,
in part, in whole, or not at all. You also must decide what weight, if any, you give to the
testimony of each witness.

       In evaluating the testimony of any witness, including any party to the case, you may
consider, among other things:

         -    The ability and opportunity the witness had to see, hear, or know the things that the
              witness testified about;

         -    The witness’s memory;

         -    Any interest, bias, or prejudice the witness may have;

         -    The witness’ intelligence;

         -    The manner of the witness while testifying; and

         -    The reasonableness of the witness’s testimony in light of all the evidence in the case.




Agreed Instruction No. 10

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.13




             Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 13
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                        PRIOR INCONSISTENT STATEMENT OR FACTS

        You may consider statements given by a party or by a witness under oath before trial as
evidence of the truth of what he said in the earlier statements, as well as in deciding what weight
to give his testimony.

        With respect to other witnesses, the law is different. If you decide that, before the trial,
one of these witnesses made a statement not under oath or acted in a manner that is inconsistent
with his testimony here in court, you may consider the earlier statement or conduct only in
deciding whether his testimony here in court was true and what weight to give his testimony here
in court.

        In considering a prior inconsistent statement or conduct, you should consider whether it
was simply an innocent error or an intentional falsehood and whether it concerns an important
fact or an unimportant detail.




Agreed Instruction No. 11

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.14




           Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 14
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                                 LAWYER INTEVIEWING WITNESS

         It is proper for a lawyer to meet with any witness in preparation for trial.




Agreed Instruction No. 12

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.16
           Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 15
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                                        NUMBER OF WITNESSES

       You may find the testimony of one witness or a few witnesses more persuasive than the
testimony of a larger number. You need not accept the testimony of a larger number of
witnesses.




Agreed Instruction No. 13

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.17




           Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 16
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                                        ABSENCE OF EVIDENCE

       The law does not require any party to call as a witness every person who might have
knowledge of the facts related to this trial. Similarly, the law does not require any party to
present as exhibits all papers and things mentioned during this trial.




Agreed Instruction No. 14

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.18




           Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 17
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                                           EXPERT WITNESSES

        You have heard witnesses give opinions about matters requiring special knowledge or
skill. You should judge this testimony in the same way that you judge the testimony of other
witnesses. The fact that such person has given an opinion does not mean that you are required to
accept it. Give the testimony whatever weight you think it deserves, considering the reasons for
the opinion, the witness’s qualifications, and all of the other evidence in the case.




Agreed Instruction No. 15

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.21




           Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 18
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                                     DEMONSTRATIVE EXHIBITS

        Certain demonstrative exhibits, such as videos (a term further defined below), models,
diagrams, devices, and blow-ups, have been shown to you. Those exhibits are used for
convenience and to help explain the facts of the case. They are not themselves evidence or proof
of any facts.


        For purposes of this instruction, the term “videos” does not include video deposition
testimony, the videos of SawStop demonstration at Ryobi headquarters, nor the video of Mr.
Holt’s test of Saw Stop. [It is the intention of the parties to include in this list all videos that are
admitted into evidence during the trial of this matter.]




Agreed Instruction No. 16

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.24




           Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions       Page 19
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                                               SUMMARIES

       The parties agree that the summary of Mr. Stolling’s medical records and medical bills
accurately summarizes their content. You should consider the summary just like all of the other
evidence in the case.




Agreed Instruction No. 17

____ Given

____ Given as Modified

____ Refused

____ Withdrawn




         Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 20
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                                            BURDEN OF PROOF

       When I say a particular party must prove something by a “preponderance of the
evidence,” or when I use the expression “if you find,” or “if you decide,” this is what I mean:
When you have considered all the evidence in the case, you must be persuaded that it is more
probably true than not true.




Agreed Instruction No. 18

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction 1.27




           Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 21
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                                          MULTIPLE CLAIMS

       You must give separate consideration to each claim. There are two claims in this case:
negligence and strict product liability.




Agreed Instruction No. 19



____ Given
____ Given as Modified
____ Refused
____ Withdrawn




         Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 22
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                                         NEGLIGENCE CLAIM

       Plaintiff’s first claim is that the defendant was negligent. For this claim the plaintiff has
the burden of proving each of the following propositions:

        First, that the defendant acted or failed to act in one of the ways claimed by the plaintiff
as stated to you in these instructions, and that in so acting or failing to act the defendant was
negligent:

       Second, that the Plaintiff was injured;

        Third, that the negligence of the defendant was a proximate cause of the injury to the
plaintiff.

       If you find from your consideration of all the evidence that each of these propositions has
been proved, then your verdict on the negligence claim should be for the plaintiff. But if, on the
other hand, you find from your consideration of all the evidence that any one of these
propositions has not been proved, then your verdict on the negligence claim should be for the
defendant.




Agreed Instruction No. 20

____ Given

____ Given as Modified

____ Refused

____ Withdrawn




          Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions     Page 23
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                  NEGLIGENCE CLAIM – DUTY TO USE ORDINARY CARE

        It was the duty of the defendant, before and at the time of the occurrence, to use ordinary
care for the safety of the plaintiff. That means it was the duty of the defendant to be free from
negligence.




Agreed Instruction No. 21

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Illinois Pattern Jury Instruction 10.04




            Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 24
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                                STRICT PRODUCT LIABILITY CLAIM

        Plaintiff’s second claim is that the defendant is subject to strict product liability. For this
claim, the plaintiff has the burden of proving each of the following propositions as to any one of
the conditions claimed by plaintiff:

        First, that the condition claimed by the plaintiff as stated to you in these instructions
existed in the BTS20R-1 table saw;

         Second, that the condition made the BTS20R-1 table saw unreasonably dangerous;

        Third, that the condition existed at the time the BTS20R-1 table saw left the control of
the defendant;

         Fourth, that the plaintiff was injured;

        Fifth, that the condition of the BTS20R-1 table saw was a proximate cause of plaintiff’s
injuries.



       If you find from your consideration of all the evidence that each of these propositions has
been proved, then your verdict should be for the plaintiff. But if, on the other hand, you find
from your consideration of all the evidence that any one of these propositions has not been
proved, then your verdict should be for the defendant.




Agreed Instruction No. 22

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Illinois Pattern Jury Instruction B400.02




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        STRICT PRODUCT LIABILITY CLAIM – DUE CARE NOT A DEFENSE



         If you decide that the plaintiff has proved all the propositions of his strict liability claim,
then it is not a defense that the condition of the product could not have been discovered by the
defendant or that care was used in the manufacture of the product.

        This instruction does not apply to the negligence claim.




Agreed Instruction No. 23

____ Given

____ Given as Modified

____ Refused

____ Withdrawn



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        ABSENCE OF LIABILITY – NO OCCASION TO CONSIDER DAMAGES



       If you decide for the defendant on the question of liability for both claims, you will have
no occasion to consider the question of damages.




       Agreed Instruction No. 24

       ____ Given

       ____ Given as Modified

       ____ Refused

       ____ Withdrawn




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                                                    DAMAGES

        If you decide for the plaintiff on the question of liability on either the negligence claim or
the strict product liability claim or both, you must then fix the amount of money which will
reasonably and fairly compensate him for any of the following elements of damages proved by
the evidence to have resulted from the negligence and/or strict product liability, taking into
consideration the nature, extent and duration of the injury:


                 The disfigurement from the injury.

                 Loss of a normal life experienced (and reasonably certain to be experienced in the
                  future). When I use the expression “loss of a normal life”, I mean the temporary
                  or permanent diminished ability to enjoy life. This includes a person’s inability to
                  pursue the pleasurable aspects of life.

                 The pain and suffering experienced and reasonably certain to be experienced in
                  the future as a result of the injuries.

                 The reasonable expense of necessary medical care, treatment, and services
                  received to date.



       Whether any of these elements of damages has been proved by the evidence is for you to
determine




Agreed Instruction No. 25

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Illinois Pattern Jury Instruction 30.01; 30.02; 30.04; 30.04.01; 30.04.05; 30.05; 30.07




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                          DAMAGES ARISING IN THE FUTURE –
                      MORTALITY TABLES AS EVIDENCE OF DAMAGES


        According to a table of mortality in evidence, the life expectancy of a person aged 28
years is 77 years old. This figure is not conclusive. It is the average life expectancy of person
who have reached the age of 28. It may be considered by you in connection with other evidence
relating to the probable life expectancy of the plaintiff in this case, including evidence of his
occupation, health, habits, and other activities, bearing in mind that some persons live longer and
some persons less than the average.




Agreed Instruction No. 26

____ Given

____ Given as Modified

____ Refused

____ Withdrawn
Illinois Pattern Jury Instruction 34.04




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               SELECTION OF A PRESIDING JUROR; GENERAL VERDICT



       Upon retiring to the jury room, you must select a presiding juror. The presiding juror will
preside over your deliberations and will be your representative here in court.

        A Verdict Form has been prepared for you.

        [A Verdict Form read.]

        Take this form to the jury room, and when you have reached unanimous agreement on the
verdict, your presiding juror will fill in and date the appropriate form, and all of you will sign it.




Agreed Instruction No. 27

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction No. 1.32




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                              COMMUNICATION WITH THE COURT



        I do not anticipate that you will need to communicate with me. If you do need to
communicate with me, the only proper way is in writing. The writing must be signed by the
presiding juror, or, if he or she is unwilling to do so, by some other juror. The writing should be
given to the marshal, who will give it to me. I will respond either in writing or by having you
return to the courtroom so that I can respond orally.

      If you do communicate with me, you should not indicate in your note what your
numerical division is, if any.




Agreed Instruction No. 28

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction No. 1.33




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                                 DISAGREEMENT AMONG JURORS



      The verdicts must represent the considered judgment of each juror. Your verdicts,
whether for or against the parties, must be unanimous.

        You should make every reasonable effort to reach a verdict. In doing so, you should
consult with one another, express your own views, and listen to the opinions of your fellow
jurors. Discuss your differences with an open mind. Do not hesitate to reexamine your own
views and change your opinion if you come to believe it is wrong. But you should not surrender
your honest beliefs about the weight or effect of evidence solely because of the opinions of other
jurors or for the purpose of returning a unanimous verdict.

       All of you should give fair and equal consideration to all the evidence and deliberate with
the goal of reaching an agreement that is consistent with the individual judgment of each juror.
You are impartial judges of the facts.




Agreed Instruction No. 29

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Seventh Circuit Pattern Jury Instruction No. 1.34




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      “DIFFERING LANGUAGE”
   PROPOSED JURY INSTRUCTIONS




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                                  ISSUES MADE BY THE PLEADINGS

    [The parties agree that the following instruction should be submitted. However, the parties
    disagree as to whether or not the subsequent language regarding the negligence of plaintiff
                              should be included in such instruction.]



        The plaintiff alleges that he was injured and sustained damage while using a BTS20R-1
table saw, and that the defendant is liable for that injury for one or more of the following
reasons:

                 The defendant designed, manufactured and/or sold the BTS20R-1 table saw
                  without incorporating the SawStop technology or some equivalent flesh detection
                  technology.

                 The defendant designed, manufactured and/or sold the BTS20R-1 table saw
                  without an independent rise and fall riving knife; or

                 The defendant designed, manufactured and/or sold the BTS20R-1 table saw
                  without an appropriate user friendly guard.

        The plaintiff further alleges that one or more of the foregoing was a proximate cause of
his injuries.

          The defendant denies that the BTS20R-1 table saw was unreasonably dangerous and that
it is liable for doing any of the things claimed by the plaintiff and also denies that any claimed
act or omission on their part was a proximate cause of plaintiff’s claimed injuries.

        The defendant further denies that the plaintiff was injured or sustained damages to the
extent claimed.



Agreed Instruction No. 30

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Illinois Pattern Jury Instruction 20.01

            Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions   Page 34
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   Additional language requested by defendants in the above “Issues Made By the Pleadings”
instruction regarding claims defendants are making related to the negligence of plaintiff to which
                                        Plaintiff objects.



        The defendant alleges that the proximate cause of plaintiff’s injuries was his own conduct
in not using the blade guard, not following the instructions and warnings which accompanied the
product and not exercising ordinary or reasonable care while operating the BTS20R-1 table saw.

       The plaintiff denies that his conduct was the proximate cause of his injuries.



Defendants’ Proposed Instruction No. 1

____ Given

____ Given as Modified

____ Refused

____ Withdrawn



Plaintiff’s contention:          Defendants seek to instruct the jury that “the defendant alleges that
the proximate cause of plaintiff’s injuries was his own conduct . . . .” This is nearly identical to
the instruction given in the first trial wherein Defendants stated that “the defendant alleges that
the sole proximate cause of plaintiff’s injuries was his own conduct . . . .” Dkt-343 at 22.
Indeed, the only change is the omission of the word “sole.” But the only possible meaning
defendants can intend from the phrase “the proximate cause” is that the plaintiff’s own conduct
was the sole proximate cause of his injury. If “the proximate cause” instead meant “a proximate
cause,” the instruction would be meaningless, for it is well-established under Illinois law that a
defendant’s actions need only be a proximate cause of the plaintiff’s damages and not the only
cause. IPI 15.01 (“”A proximate cause of an injury is any cause which, in natural or probable
sequence, produced the injury complained of. It need not be the only cause, nor the last or
nearest cause. It is sufficient if it concurs with some other cause acting at the same time[ ]
which[,] in combination with it, causes the injury.”) (Defendants have agreed to such language in
the instructions describing a negligence claim and a strict product liability claim). Thus, even if
this instruction was supported by evidence at trial, it would be meaningless, since the fact that
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Plaintiff’s alleged negligence may have been a cause of his injuries would not effect a
determination of whether Defendants were also a cause.

        Under Illinois law, telling the jury that Plaintiff was a cause of his own injuries would not
in any way affect their determination as to whether Defendants are liable under a negligence or
product liability theory. It is only if the jurors are told that plaintiff was the one and only, i.e.,
sole, cause of his injuries that Defendant’s proposed instruction has any meaning. But the
Seventh Circuit clearly and properly held that such an instruction is inconsistent with Illinois
law. That is true because a sole proximate cause defense, according to the comments to the
applicable portion of the Illinois Pattern Jury Charge, “should be used only where negligence of
a person who is not a party to the suit may have concurred or contributed to cause the
concurrence.” IPI12.04. As the Seventh Circuit noted, “this obviously does not describe this
case, in which Ryobi maintained that Stollings – a party to the suit – was entirely responsible for
his injury.” Stollings v. Ryobi Technologies, Inc., 725 F.3d 753, 770 (7th Cir. 2013). The court
also noted that Defendants’ sole proximate cause instruction was consistent with the law only “if
Ryobi had been trying to show that a third party was at least partially responsible for the
accident.” Id. Because a sole proximate cause instruction is not proper under these facts,
defendants’ proposed instruction, which would have the same effect, should not be given.

        Finally, the Seventh Circuit held that a sole proximate cause instruction was improper
because “the evidence in the case did not suggest that there was a sole proximate cause of
Stollings’s injury.” Stollings, 725 F.3d at 771. Thus, Defendant’s proposed instruction, which
implies just that, is improper.



Defendants’ contention:         Defendants are not advancing a comparative negligence defense.
Thus, Plaintiff’s contention of waiver regarding a comparative negligence defense is moot.
Furthermore, and relatedly, Defendants are not proposing a comparative negligence jury
instruction. Thus, Plaintiff’s argument concerning a comparative negligence jury instruction is
also moot.

Defendants may, however, contend at trial that Plaintiff’s conduct is the sole proximate cause of
his injury and not any asserted defective design of the benchtop table saw. That argument has not
been prohibited by the Seventh Circuit. The Seventh Circuit’s statements Plaintiff quotes related
to the propriety of a sole proximate cause jury instruction – not the ability to present evidence of
sole proximate cause or to argue sole proximate cause during the trial as a whole.

For instance, Plaintiff omits the following statement by the Seventh Circuit: “It is also logically
correct that if Stollings was the sole proximate cause, Ryobi would not be a proximate cause. (If
Stollings was the only proximate cause, by definition no one else could have been a proximate
cause.)” Thus, while the Seventh Circuit found the sole proximate cause instruction to be
          Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions     Page 36
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confusing, it did not bar Defendants from contending that Plaintiff’s conduct was the sole
proximate cause of his injuries.

Moreover, to deprive Defendants from presenting evidence and arguing that Plaintiff was the
sole proximate cause of his injuries would contravene precedent of the Illinois Supreme Court.
See Korando v. Uniroyal Goodrich Tire Co., 159 Ill.2d 335, 637 N.E.2d 1020 (1994). In
Korando, a case wherein the defendants were also noted to have withdrawn their affirmative
defenses of contributory negligence and assumption of risk, the defendant adduced evidence that
Plaintiff’s speed, braking and steering, which related to defendant’s denial that its tire’s alleged
defect was the proximate cause of the injuries suffered by the plaintiff’s decedents. See Korando,
159 Ill.2d at 344-345. The plaintiff argued it was an error as the affirmative defenses had been
withdrawn and the defendant had not raised “sole proximate cause” as an affirmative
defense. The Illinois Supreme Court rejected this argument finding that: “We find that the
conduct of a plaintiff or a third party is relevant to the issue of proximate cause in a strict
products liability case.” Korando, 159 Ill.2d at 345 (emphasis added). Finally: “Although a
plaintiff’s negligence is generally not an issue in a strict products liability case, evidence relating
to the plaintiff’s conduct is admissible to establish a defendant's theory of defense that the
product was not the proximate cause of the plaintiff’s injuries.” Id.




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                NEGLIGENCE CLAIM – DEFINITION OF “NEGLIGENCE”

[The differing proposed language in this proposed instructions from the parties relates solely to
whether the “or person” language should be included – which has solely to do with whether the
defendants are entitled to present to the jury any instructions regarding the comparative
negligence of Brandon Stollings.]



       Plaintiff’s Proposed Language

       When I use the word “negligence” in these instructions, I mean the failure to do
something which a reasonably careful company would do, or the doing of something which a
reasonably careful company would not do, under circumstances similar to those shown by the
evidence. The law does not say how a reasonably careful company would act under those
circumstances. That is for you to decide.




Plaintiff’s Proposed Instruction No. 1

____ Given

____ Given as Modified

____ Refused

____ Withdrawn




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        Defendants’ Proposed Language

       When I use the word “negligence” in these instructions, I mean the failure to do
something which a reasonably careful company or person would do, or the doing of something
which a reasonably careful company or person would not do, under circumstances similar to
those shown by the evidence. The law does not say how a reasonably careful company or person
would act under those circumstances. That is for you to decide.




Defendants’ Proposed Instruction No. 2

____ Given

____ Given as Modified

____ Refused

____ Withdrawn




Plaintiff’s contention:        Defendants seek to instruct the jury on what constitutes negligence
of plaintiff. This is improper, as the defendants have abandoned their comparative negligence
claim and the 7th Circuit has clearly articulated that a sole cause instruction is improper. Even if
this instruction was supported by evidence at trial, it would be meaningless, since the fact that
Plaintiff’s alleged negligence may have been a cause of his injuries would not effect a
determination of whether Defendants were also a cause.

Under Illinois law, telling the jury that Plaintiff was a cause of his own injuries would not in any
way affect their determination as to whether Defendants are liable under a negligence or product
liability theory. It is only if the jurors are told that plaintiff was the one and only, i.e., sole, cause
of his injuries that Defendant’s proposed instruction has any meaning. But the Seventh Circuit
clearly and properly held that such an instruction is inconsistent with Illinois law. That is true
because a sole proximate cause defense, according to the comments to the applicable portion of
the Illinois Pattern Jury Charge, “should be used only where negligence of a person who is not a
party to the suit may have concurred or contributed to cause the concurrence.” IPI12.04. As the
          Exhibit “E” to Joint Pre-Trial Order – Parties’ Joint Proposed Jury Instructions         Page 39
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Seventh Circuit noted, “this obviously does not describe this case, in which Ryobi maintained
that Stollings – a party to the suit – was entirely responsible for his injury.” Stollings v. Ryobi
Technologies, Inc., 725 F.3d 753, 770 (7th Cir. 2013). The court also noted that Defendants’
sole proximate cause instruction was consistent with the law only “if Ryobi had been trying to
show that a third party was at least partially responsible for the accident.” Id. Because a sole
proximate cause instruction is not proper under these facts, defendants’ proposed instruction,
which would have the same effect, should not be given.

Finally, the Seventh Circuit held that a sole proximate cause instruction was improper because
“the evidence in the case did not suggest that there was a sole proximate cause of Stollings’s
injury.” Stollings, 725 F.3d at 771. Thus, Defendant’s proposed instruction, which implies just
that, is improper.



Defendants’ contention:         Defendants are not advancing a comparative negligence defense.
Thus, Plaintiff’s contention of waiver regarding a comparative negligence defense is moot.
Furthermore, and relatedly, Defendants are not proposing a comparative negligence jury
instruction. Thus, Plaintiff’s argument concerning a comparative negligence jury instruction is
also moot.

Defendants may, however, contend at trial that Plaintiff’s conduct is the sole proximate cause of
his injury and not any asserted defective design of the benchtop table saw. That argument has not
been prohibited by the Seventh Circuit. The Seventh Circuit’s statements Plaintiff quotes related
to the propriety of a sole proximate cause jury instruction – not the ability to present evidence of
sole proximate cause or to argue sole proximate cause during the trial as a whole.

For instance, Plaintiff omits the following statement by the Seventh Circuit: “It is also logically
correct that if Stollings was the sole proximate cause, Ryobi would not be a proximate cause. (If
Stollings was the only proximate cause, by definition no one else could have been a proximate
cause.)” Thus, while the Seventh Circuit found the sole proximate cause instruction to be
confusing, it did not bar Defendants from contending that Plaintiff’s conduct was the sole
proximate cause of his injuries.

Moreover, to deprive Defendants from presenting evidence and arguing that Plaintiff was the
sole proximate cause of his injuries would contravene precedent of the Illinois Supreme Court.
See Korando v. Uniroyal Goodrich Tire Co., 159 Ill.2d 335, 637 N.E.2d 1020 (1994). In
Korando, a case wherein the defendants were also noted to have withdrawn their affirmative
defenses of contributory negligence and assumption of risk, the defendant adduced evidence that
Plaintiff’s speed, braking and steering, which related to defendant’s denial that its tire’s alleged
defect was the proximate cause of the injuries suffered by the plaintiff’s decedents. See Korando,
159 Ill.2d at 344-345. The plaintiff argued it was an error as the affirmative defenses had been
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withdrawn and the defendant had not raised “sole proximate cause” as an affirmative
defense. The Illinois Supreme Court rejected this argument finding that: “We find that the
conduct of a plaintiff or a third party is relevant to the issue of proximate cause in a strict
products liability case.” Korando, 159 Ill.2d at 345 (emphasis added). Finally: “Although a
plaintiff’s negligence is generally not an issue in a strict products liability case, evidence relating
to the plaintiff’s conduct is admissible to establish a defendant's theory of defense that the
product was not the proximate cause of the plaintiff’s injuries.” Id.




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                           NEGLIGENCE CLAIM –ORDINARY CARE

[The differing proposed language in this proposed instructions from the parties relates solely to
whether the “or person” language should be included – which has solely to do with whether the
defendants are entitled to present to the jury any instructions regarding the comparative
negligence of Brandon Stollings.]




Plaintiff’s Proposed Language

        When I use the words “ordinary care,”, I mean the care a reasonably careful company
would use under circumstances similar to those shown by the evidence. The law does not say
how a reasonably careful company would act under the circumstances. That is for you to
decide.




Plaintiff’s Proposed Instruction No. 2

____ Given

____ Given as Modified

____ Refused

____ Withdrawn




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Defendants’ Proposed Language

When I use the words “ordinary care,”, I mean the care a reasonably careful company/or person
would use under circumstances similar to those shown by the evidence. The law does not say
how a reasonably careful company/ or person would act under the circumstances. That is for
you to decide.




Defendants’ Proposed Instruction No. 3

____ Given

____ Given as Modified

____ Refused

____ Withdrawn




Plaintiff’s contention:        Defendants seek to instruct the jury on what constitutes negligence
of plaintiff. This is improper, as the defendants have abandoned their comparative negligence
claim and the 7th Circuit has clearly articulated that a sole cause instruction is improper. Even if
this instruction was supported by evidence at trial, it would be meaningless, since the fact that
Plaintiff’s alleged negligence may have been a cause of his injuries would not effect a
determination of whether Defendants were also a cause.

        Under Illinois law, telling the jury that Plaintiff was a cause of his own injuries would not
in any way affect their determination as to whether Defendants are liable under a negligence or
product liability theory. It is only if the jurors are told that plaintiff was the one and only, i.e.,
sole, cause of his injuries that Defendant’s proposed instruction has any meaning. But the
Seventh Circuit clearly and properly held that such an instruction is inconsistent with Illinois
law. That is true because a sole proximate cause defense, according to the comments to the
applicable portion of the Illinois Pattern Jury Charge, “should be used only where negligence of
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a person who is not a party to the suit may have concurred or contributed to cause the
concurrence.” IPI12.04. As the Seventh Circuit noted, “this obviously does not describe this
case, in which Ryobi maintained that Stollings – a party to the suit – was entirely responsible for
his injury.” Stollings v. Ryobi Technologies, Inc., 725 F.3d 753, 770 (7th Cir. 2013). The court
also noted that Defendants’ sole proximate cause instruction was consistent with the law only “if
Ryobi had been trying to show that a third party was at least partially responsible for the
accident.” Id. Because a sole proximate cause instruction is not proper under these facts,
defendants’ proposed instruction, which would have the same effect, should not be given.

        Finally, the Seventh Circuit held that a sole proximate cause instruction was improper
because “the evidence in the case did not suggest that there was a sole proximate cause of
Stollings’s injury.” Stollings, 725 F.3d at 771. Thus, Defendant’s proposed instruction, which
implies just that, is improper.

Defendants’ contention:         Defendants are not advancing a comparative negligence defense.
Thus, Plaintiff’s contention of waiver regarding a comparative negligence defense is moot.
Furthermore, and relatedly, Defendants are not proposing a comparative negligence jury
instruction. Thus, Plaintiff’s argument concerning a comparative negligence jury instruction is
also moot.

Defendants may, however, contend at trial that Plaintiff’s conduct is the sole proximate cause of
his injury and not any asserted defective design of the benchtop table saw. That argument has not
been prohibited by the Seventh Circuit. The Seventh Circuit’s statements Plaintiff quotes related
to the propriety of a sole proximate cause jury instruction – not the ability to present evidence of
sole proximate cause or to argue sole proximate cause during the trial as a whole.

For instance, Plaintiff omits the following statement by the Seventh Circuit: “It is also logically
correct that if Stollings was the sole proximate cause, Ryobi would not be a proximate cause. (If
Stollings was the only proximate cause, by definition no one else could have been a proximate
cause.)” Thus, while the Seventh Circuit found the sole proximate cause instruction to be
confusing, it did not bar Defendants from contending that Plaintiff’s conduct was the sole
proximate cause of his injuries.

Moreover, to deprive Defendants from presenting evidence and arguing that Plaintiff was the
sole proximate cause of his injuries would contravene precedent of the Illinois Supreme Court.
See Korando v. Uniroyal Goodrich Tire Co., 159 Ill.2d 335, 637 N.E.2d 1020 (1994). In
Korando, a case wherein the defendants were also noted to have withdrawn their affirmative
defenses of contributory negligence and assumption of risk, the defendant adduced evidence that
Plaintiff’s speed, braking and steering, which related to defendant’s denial that its tire’s alleged
defect was the proximate cause of the injuries suffered by the plaintiff’s decedents. See Korando,
159 Ill.2d at 344-345. The plaintiff argued it was an error as the affirmative defenses had been
withdrawn and the defendant had not raised “sole proximate cause” as an affirmative
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defense. The Illinois Supreme Court rejected this argument finding that: “We find that the
conduct of a plaintiff or a third party is relevant to the issue of proximate cause in a strict
products liability case.” Korando, 159 Ill.2d at 345 (emphasis added). Finally: “Although a
plaintiff’s negligence is generally not an issue in a strict products liability case, evidence relating
to the plaintiff’s conduct is admissible to establish a defendant's theory of defense that the
product was not the proximate cause of the plaintiff’s injuries.” Id.




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                            STRICT PRODUCT LIABILITY CLAIM –

                     DEFINITION OF “UNREASONABLY DANGEROUS”



    [The differing proposed language in this proposed instructions from the parties relates to
Plaintiff’s request to add an additional factor to be considered by the jury in determining whether
                             the product is “unreasonably dangerous”.



       Agreed proposed language:

        When I use the expression “unreasonably dangerous,” I mean that the risk of danger
inherent in the design outweighs the benefits of the design when the product is put to a use that is
reasonably foreseeable considering the nature and function of the product. When deciding
whether the plaintiff’s BTS20R-1 table saw is unreasonably dangerous, you may consider, but
are not limited to, the following factors:

•     The availability and feasibility of alternate designs at the time of the product’s
manufacture;

•      Whether the design conformed to the design standards of the industry, design guidelines
provided by an authoritative voluntary association, or design criteria set by legislation or
governmental regulation;

•      The usefulness and desirability of the product – its utility to the user;

•      The safety aspects of the product – the likelihood that it would cause injury, and the
probable seriousness of the injury;

•       The availability of a substitute product which would meet the same need and not be as
unsafe;

•      The manufacturer’s ability to eliminate the unsafe character of the product without
impairing its usefulness or making it too expensive to maintain its utility;

•      The user’s ability to avoid danger by the exercise of care in the use of the product;

•       The user’s anticipated awareness of the dangers inherent in the product and its
availability, because of general public knowledge of the obvious condition of the product, or of
the existence of suitable warnings or instructions;



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It is up to you whether to consider any, some, or all of these factors, and it is up to you to what
weight is given to the factors that you do consider.



Agreed Proposed Instruction No. 31

____ Given

____ Given as Modified

____ Refused

____ Withdrawn




Plaintiff’s Proposed Instruction No. 3:



•      The societal impact eliminating the unsafe character of the product would bring.




____ Given

____ Given as Modified

____ Refused

____ Withdrawn




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Plaintiff’s contention:          In its appeal of this matter, the 7th Circuit Court held that being
allowed to “consider the costs of a category of accidents to society a relevant consideration in a
product liability suit. This is implicit in the court’s adoption in Calles of the factor that focuses
on the “utility to the user and to the public as a whole.” Since it is a proper factor for the jury to
consider, the Court should include such factor in the list of factors in the instruction.



Defendants’ contention:         The additional language proposed by plaintiff is confusing and
misleading. The 7th Circuit held that the instruction given in the first trial is a proper instruction
and rejected plaintiff’s argument that it was an error not to include a “utility or cost-to-society
factor”. Specifically, the 7th Circuit Court held: “The instruction properly stated the law and
was not unreasonably confusing. The district judge employed the Illinois pattern instruction and
supplemented the instruction with several factors that the Illinois Supreme Court approved in its
Calles decision. The judge made clear to the jury that the factors were not exclusive and that the
jurors were free to consider other factors. This was a correct statement of the law. It was also not
confusing because we presume that jurors are able to follow instructions, at least absent reason to
believe the instructions are ineffective…Here the judge directed the jury to several relevant
factors and made clear that these were not the only factors for the jury to consider. We think this
statement was clear enough both for jurors to understand that they were free to consider all of the
relevant evidence and to allow counsel to argue additional factors. This instruction was not
error.” Stollings v. Ryobi Techs., Inc., 725 F.3d 753, 769 (7th Cir. Ill. 2013)




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                                BOTH CLAIMS – PROXIMATE CAUSE



The Agreed Proposed Language:



       When I use the expression “proximate cause,”, I mean a cause that, in the natural or
ordinary cause of events, produced the plaintiff’s injury.



Agreed Proposed Instruction No. 1:

____ Given

____ Given as Modified

____ Refused

____ Withdrawn



Plaintiff’s Requested Proposed Language:



       It need not be the only cause, nor the last or nearest cause. It is sufficient if it combines
with another cause resulting in the injury.

         This instruction applies to both the negligence claim and strict product liability claim.



Plaintiff’s Proposed Instruction No. 4

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Illinois Pattern Jury Instruction 15.01


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  WHOLLY CONTESTED PROPOSED
      JURY INSTRUCTIONS




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DEFENDANTS’ PROPOSED JURY INSTRUCTIONS




                                         DAMAGES – TAXATION



       Any money awarded to plaintiff in this case will not be subject to taxation.




Defendants’ Proposed Instruction No. 1

____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Norfolk & Western Railway Co. v. Liepelt, 444 U.S. 490 (1980); Wilson v. Garcia, 105 S.Ct.
1938 (1985), In re Air Crash Disaster Near Chicago, 701 F.2d 1189 (7th Cir. 1983), Couch v.
Vill. of Dixmoor, No. 05 C 963, 2006 U.S. Dist. LEXIS 85663 (N.D. Ill. Nov. 27, 2006).

Plaintiff’s Objection: The Illinois Supreme Court has made it clear that giving an instruction
regarding the non-taxation of the recovery in personal injury cases based upon Illinois
substantive law is improper. Klawon v. Mitchell, 105, Ill 2d. 450, 475 N.E. 857, 86 (Ill. 1985).




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       The duty to manufacture a “reasonably” safe product does not require the safest design
possible, nor one incapable of causing injury.




Defendants’ Proposed Instruction No. 7
____ Given

____ Given as Modified

____ Refused

____ Withdrawn

Baltus v. Weaver Division of Kidde and Co., Inc., citing Kerns v. Engelke, 76 Ill. 2d 154 (1979)
and Hunt v. Blasius, 74 Ill. 2d 203, 212 (1979)




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